Case 1:22-cr-00113-MN Document 30 Filed 11/22/23 Page 1 of 14 PagelD #: 132

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA )

Vv. Case No. 22-cr-00113-MN
MICHAEL MARX,
Defendant.

DEFENSE’S SENTENCING MEMORANDUM

On April 5, 2023, the defendant entered a plea of guilty before The
Honorable Maryellen Noreika to a single count of Trafficking in Counterfeit
Goods in violation of 18 U.S.C. § 2320(a)(1). Such a plea acknowledged that the
defendant intentionally trafficked in goods and services containing a trademark
that he knew was counterfeit. The defendant stipulated to the infringement amount,
which resulted in an increase of six offense levels to his base level, pursuant to
§§ 2B5.3(b)(1)(B) and 2B1.1(b)(1)(D) of the United States Sentencing Guidelines.

Thereafter, a presentence investigation was completed and sentencing in this
matter was originally scheduled for August 29, 2023. However, on July 20, 2023,
the defendant underwent a lengthy and complex surgery on his lower back, which
basically made him shysiedily incapable of appearing for the sentencing on

August 29. The matter was therefore rescheduled to November 29, 2023 at 11:00
Case 1:22-cr-00113-MN Document 30 Filed 11/22/23 Page 2 of 14 PagelD #: 133

a.m., with the understanding that the defense could make further application for a
continuance, depending on the defendant’s physical condition.

As will be explained in more detail herein, the surgery that was conducted
did not alleviate the conditions causing the defendant’s pain and physical
instability and he, unfortunately, is no better off now than he was prior to the
surgery taking place. Since he is not really going to get any better at this point,
counsel is making no additional application for a continuance of the sentencing.

I. FACTUAL BACKGROUND AND PROCEDURAL HISTORY

The defendant has had an opportunity to review the government’s
Sentencing Memorandum and does not disagree with the factual background or
procedural history set forth therein. The defendant also did not, and does not,
disagree with the calculations set forth in the Presentence Report and reflected in
the government’s memorandum as to the applicable sentencing guideline.

Last, the defendant does not disagree with the government’s sentencing
recommendations, as reflected on pages 4 and 5 of their Sentencing Memorandum.

Il. SENTENCING FACTORS TO BE CONSIDERED

The issue in this case is whether, under 18 U.S. Code § 3553, given the
current characteristics of this defendant, a period of incarceration would be
“greater than necessary to comply with the purposes set forth in J 2 of this

subsection.”
Case 1:22-cr-00113-MN Document 30 Filed 11/22/23 Page 3 of 14 PagelD #: 134

In reviewing 18 U.S. Code § 2320, the defense does not disagree that this is
a serious offense and that some level of punishment should be imposed. Although
it also appears that perhaps the concept of general deterrents might be advanced by
a more severe sentence, this factor does not seem to be firmly an issue here. Given
the contents of the Presentence Report, the Court has learned that there does not
appear that there is any need to protect the public from further crimes committed
by this defendant and given the defendant’s background and training, there does
not appear to be any need to provide the defendant with remedial services in that
respect.

The defendant seeks a variance from the otherwise applicable sentencing
guideline based primarily on the defendant’s severe health issues, which not only
prevent him from living a productive life here but which would absolutely literally
paralyze him if he were to be incarcerated. The defense, consistent with the
position of the government, is requesting a two-level variance to allow this Court
to impose a sentence including home confinement, which would permit the
defendant to live his life outside of a prison cell and to secure as much relief as is
possible to him from the constant and disabling pain under which he lives on a
daily basis.

Attached hereto are reports from Delaware Neurosurgical Group, P.A. dated

February 1, 2023 and April 6, 2023. These reports detail the physical conditions
Case 1:22-cr-00113-MN Document 30 Filed 11/22/23 Page 4 of 14 PagelD #: 135

under which Mr. Marx has been operating and which were not relieved by the
July 20 surgery.

Mr. Marx suffers from chronic pain in his lower back. The limitations that
this pain imposes are as follows:

1. He can only stand for a couple of minutes at a time in one place;

2. He is able to walk with a cane for a period of about 15 minutes, after
which the pain becomes unbearable;

3. He must sit in a leather office chair with lumbar support, as it is the
only type of chair in which he can sit comfortably for an extended period of time;

4. He currently undergoes aqua therapy, since land-based therapy is too
painful; and

5. He is, of course, in constant pain.

Given the level of the defendant’s dysfunction, he does require assistance in
performing the daily necessities of his life and he reports subjectively, something
which is corroborated by the objective reports provided, that his pain level on a
daily basis is a “12” on a scale of “10”.

As to the underlying offense, the defendant did not make any efforts to
represent to his potential buyers that the Super Bowl rings that he was peddling
were anything other than replicas and he at no time attempted to sell them off as

the “real thing”. However, under the law, as counsel has learned, it is sufficient for
Case 1:22-cr-00113-MN Document 30 Filed 11/22/23 Page 5 of 14 PagelD #: 136

conviction purposes that someone in the chain of purchase could have been
significantly misled as to believe that the rings were, in fact, originals, so that the
defendant could very well be found guilty to the offense.

It is suggested then that the sentencing guidelines somewhat over-represent
the seriousness of the offense, especially given the defendant’s unique
characteristics. However, that issue need not really be addressed under the
circumstances of this case given the government’s position and the mutual request
that a downward variance be considered by the Court.

A period of incarceration under these circumstances would be “greater than
necessary to comply with the purposes set forth” in the applicable statute. It is
argued to the Court that imposing a period of incarceration as suggested by the
guidelines would be inconsistent with the admonitions found in 18 U.S.C. § 3553
and unnecessary to accomplish any of the remedial purposes set forth in that
statute.

The defense would therefore join in the government’s recommendation that
this Court grant a variance from the sentencing guidelines and impose a period of
12 months of home confinement as the appropriate sentence under the facts of this

case.
Case 1:22-cr-00113-MN Document 30 Filed 11/22/23 Page 6 of 14 PagelD #: 137

Respectfully submitted

EUGENE J. MAURER, JR. (#821)
1201-A King Street

Wilmington, DE 19801

(302) 652-7900

Attorney for Defendant

Dated: November 21, 2023
04/14/2089 9 cc FAP | bPaboobasgguMeNt SGné has Ragg2/28

774 CHRISTIANA ROAD
SUITE 202
NEWARK, DE 19713
* PHONE: (302} 366-7671 «FAX: (302) 34

Page 7 of 14 PagelD "th dob2/0010

DELAWARE NEUROSURGICAL GROUP, P.A.

6-7549

Leif-Enk Bohman,M.D.
P.Tim Boulos, MD.
Matthew J. Eppley, M.D.
Tony! Mridoh, M.D.

Pawan Rastogi, M.D.

Pulak Ray, M_D.

Michael G. Sugarman, M.D.
Kennedy Yalamanchili, M.D.

Date of Service: 02/01/2023
Re: Michael Marx

DOB: 09/05/1962

Acct #: 140934

- Reason For Visit

. Fest. Pain docs interfere with ADL, He is taking NSAIDS, received PT

Justin Fleegle, PA-C
Natalie Hoffman, PA-C
Teresa Kitko, PA-C
Timothy Maring, PA-C
Bemard Racey, PA-C
Joseph Reynolds, PA-C
Shakara Smith, PA-C
Morgan Snyder, PA-C
Heather Stauff, PA-C

‘om January 2022 to February

Visit for: right low back pain with radiation down right leg which rf 10+/10 at worst and a 5/10 at

2022 as well as 2 injections with Dr. Sutherland. This visit is not only fe

History of Present [flness
Michael Marx is a 60 year old male.
* Medication list reviewed,

rasecond opinion.

Michael Marx is a 60-year-old Caucasian male with a long-standing hist

ry of back problems, though he

does admit over the last 2 years, his symptoms have became unbearable.! The patient reports he has

undergone recent conservative treatment for his back, including treatment with nonsteraidals,

therapy,

physical

and 2 lumbar steroid injections administered by Dr. Sutherland.| Despite these treatments, he

denies any relief. The physical therepy actually worsened his pain. He urrently rates his pain level at a 12

on a scale af 1-10. He describes right-sided back and buttock pain with

involving the posterior aspect of the thigh, posterior aspect of the calf, to th

of hig toes. He denies left lower extremity symptoms or changes in bow
complete an MRI study of his lower back in March, demonstrating evide
did complete a more recent MRI study 2 months ago, demonstrating th
better, however, there was evidence of possible spondylolysis and spond
patient was referred by his pain management physician for operative tre
consérvative management, his symptoms have only worsened.

Current Medication
* Meloxicam 15 MG Oral Tablet 60 days, 0 refills
* NSAIDS Oral Capsule 0 days, 0 refills

Past Medical/Surgical History
Gallbladder surgery.

Social History

Tobacco use: Smoking status: Current everyday smoker.
Alcohol: Alcohol use,

Drug Use: Not using drugs.

Marital: Single.

iating pain to the right leg

e foot. He denies involvement
1 or bladder habits. He did

nee of an L4-5 disc hemiation. He

lalisthesis at the L4-§ level. The
ent. He does admit, despite

¢ tl herniation appeared to be

04/14/2024 2: CSP IAD 1 SE abe 2hAgGUMEN! SOpne a ketge/2S Page 8 of 14 PagelD Hadso, po10

Date:of Service: 02/01/2023 Re: Michael Marx DOB: 09/05/1 962 Acct#: 140934

oh

MUSCULOSKELETAL: Manual motor strength testing of the upper ani flower extremities was
performed. The iliopsoas muscle, quadriceps muscle, anterior tibialis, extensor hallucis longus, and
gastrocnemius/soleus complex in the lower extremity were tested. Therd is no evidence of weakness
invelving these motor groups. There is no evidence of atrophy or wasting. No fasciculations or spasticity
was identified. There are no abnormal movements detected.
SENSORY: Sensory testing was performed for both posterior columns and spinothalamic tracts.
Dermatomes were tested to both light touch and pin prick, as well as prob dccenuve testing of the limbs.
There is no evidence of deficit to these sensory modalities.

*REFLEXES: The deep tendon reflexes are depressed but symmetric athe patellar, hamstrings, and
Achilles sites. Hoffman's and Babinski were absent bilaterally. There isino evidence of myoclonus or
Spasticity in the upper or lower extremities, No pathologic reflex is dete¢ted,

GAIT AND STATION: The gait is without specific abnormality. Therel is no truncal or limb ataxia.
Strength for toe and heel walking is intact. Coordination is intact.

MRI study of the lumbar spine from November was reviewed, Prior filajs from March were not availabie,
By report, the film in March does demonstrate evidence of a right-sided L4-5 disc hemiation, which
appears to be substantial. This is not noted in the current report. There ik evidence of mild to moderate
multilevel disc disease, most substantial at the L4-5 level, where there is evi
spondylolisthesis and facet disease. There is evidence of moderate fo

Assessment
Michael Marx is 2 60-year-old Caucasian male with disabling right sided back and lower extremity pain
associated with disc disease most praminent at the L4-5 level. His imaging studies do suggest the
possibility that the disc herniation may have improved, however, his symptoms have only worsened, He
does have an element of stenosis and spondylolisthesis at L4-5, which may still be contributing, however, it
is possible the disc hemiation which has resolved, has caused chronic ne damage, that may not respand
to any form of treatment, including Surgery. I did explain this to the patient today. Nevertheless, given his
nal testing and surgical treatment
surgery may or may not prove
ith the additional testing and

ith flexion-extension views, to
better evaluate stability of the L4-5 Segment. I did also request a CT study of the lumbar Spine, to better
assess bony anatomy. This may better detect the possibility of a spondytolysis or any significant
degenerative changes at L5-S1, which may be contributing.

I discussed with the patient surgical treatment would consist of an L4-5 decompression, including

‘ faminotomies, foraminotomies, discectomy, and fusion with use of iliac rest, allograft, interbody cage, and
pedicle screw fixation, I did discuss this type of surgery is extensive, with moderate rates of success, The
Surgery generally requires a 1-2 day hospital stay, back bracing for appr ximately | month, followed by a
progeam of physical therapy. Full recovery would be anticipated to be 3 months, up to a year for full
improvement. Long-term limitations would be recommended, including javoiding heavy physical demand,
which may wear on additional disks, in the future, Surgical treatment ofthis nature generally carries a
success rate between 60 and 70%. Still, this leaves } in 3 without improvement or potentially worse. 1 did
discuss risks associated with Surgery. Risks that were discussed include but not limited to infection,
bleeding, weakness or paralysis, death, failure to improve, subsequent sufgeries, worsening of symptoms,
medical complication (including DVT, pulmonary embolus myocardial i farction, stroke, etc.), recurrent
disc disease seen at the sites, reoperation, failure of bone graft/instrumentation, chest lung or abdominal
injury, vascular injury, adjacent level disc degeneration, loss of range of motion, spinal fluid leakage,
revision surgery, chesv/lung/abdominal injury, vascular injury, etc... Surgery of this magninide is generally
considered as a last resort for symptoms that remain disabling. Ail questions were answered to the patient's
satisfaction.

: 140
04/14/4085 de z>a FRE 1 G3 shoe obyagument 30, Filed blia2/23 Page 9 of 14 PagelD *@iooos/oo10
ao | ' 3 :

|

Date|of Service: 02/01/2023 Re: Michael Marx DOB: 09/08/1962 Acct #: 140934

‘The patient does wish to proceed with surgical treatment. 1 have arranged the testing and a follow-up visit,
to review the results. Thank you for allowing us to share in his care,

Plan
* Other
Follow-up Appt Req
with SS after x-rays/CT lumbar complete

* Spondylolisthesis, iumbar region
Visit Summary: Visit Summary Provided to the Patient
X-Ray/Spine: Lumbar - AP/LAT, Lumbar - FLEX/EXT
CT/CT without Contrast: Lumbar Spine w/ 2D recon

Care Team

Dale Sutherland, MD

Health Reminders
* Assess BM] satisfied 02/01/2023.
* Assess Tobacco Use satisfied 02/01/2023, Result is abnormal.

Preventative Assessments/Counseling/Education
Medication reconciliation performed Patient's current medication li
Tobacco use screening with tobacco cessation intervention, history

tobacco use reported, and care plan documented for pain for pain ten Pai
planned follow up appointment or a referral and notification to the other
the patient's pain; BMI is documented as above normal parameters and fol
is above normal parameters. Patient education on healthy eating and re
patient screening for alcohol consumption Less than 2 Single question
and Patient not identified as an unhealthy alcohol user.

was reviewed.

f tobacco use reported history of
is 10 on a scale of 1 to 10. A

re providers have been made for

low up plan is documented. BMI

lar physical activity was provided,

reening for unhealthy alcoho! use:,

Kennedy Yalamanchili MD
Electronically signed by: Kennedy Yalamanchili Date: 02/04/2023 13:08

04/14/4083 E13 :03P GAG 1 1A No eb pQUMENt SOpnG ila Reeg/23 Page 10 of 14 PagelD @obtevoo10.

DELAWARE NEUROSURGICAI

774 CHRISTIANA ROAD
SUITE 202
NEWARK, DE !9713
“PHONE; (302) 366-7671 = *FAX: (302)3

. GROUP, PA,

b6-7549

Leif-Erik Bohman, M.D,
P, Tim Boules, M.D.
Matihew J. Eppley, MD.
Pawan Rastogi, M.D.
Pulek Ray, M.D.

Mary Kate Green, PA-C
Teresa Kitko, PA-C
Robert Kondos, PA-C
Britney Martin, PA-C
Bernie Racey, PA-C

Michael G. Sugarman, M.D. Joseph Reynolds, PA-C
Kennedy Yalamanchili, M.D. Shakara Smith, PA-C

Date of Appointment: 04/06/2023

Re: Michael Marx
DOB: 09/05/1962
Acct#: 140934

Reason For Visit
Visit for: Lumbar Follow Up and visit for: right low back pair
which is a 10+/10 at worst and a 5/10 at rest. Pain does interfere
NSAIDS, received PT from January 2022 to February 2022 as we
Sutherland, This visit is not onty for a second opinion.

History of Present Hlness/Subjective

- Seott Winfield, PA-C

with radiation down right leg
with ADL. He is taking
las 2 injections with Dr.

Michael Marx is a 60-year-old Caucasian male who presents to tht outpatient neurosurgical

office to review additional testing and discuss surgical treatment. |
change in symptoms since his last visit.

He has a long-standing history of back problems, though he does
symptoms have become unbearable. The patient reports he has u
treatment for his back, including treatment with nonsteroidals, phy
Steroid injections administered by Dr, Sutherland. Despite these

He reports no significant

dmit over the last 2 years, his
dergone recent conservative
sical therapy, and 2 lumbar
reatments, he denies any relief.

The physical therapy actually worsened his pain. He currently ral
Scale of 1-10. He describes right-sided back and buttock pain

involvement of his toes. Hed

es his pain level ata 12 ona
radiating pain to the right leg

wi
involving the posterior aspect of the thigh, posterior aspect of he al to the foot. He denies

enies left lower extremity sympto
bladder habits.

Review of Systems
Pertinent positive findings in HPI. Remaining 14 point review of s

Encounter Background Information: Abdominal pain was unre

Systemic: Not feeling tired. No fever and no recent weight loss.
sweats,

Head: Headache severity not severe. No sinus pain and no sinus

Eyes: No worsening vision and no blurred vision.

Otolaryngeal: No hearing loss and no tinnitus.

Cardiovascular: No chest pain or discomfort and no palpitations,

Page | ofS

or changes in bowel or

ystems are negative,

markable,
Recent weight gain. No night

pressure.

04/14/2668 ve atid PA 1g bobby d2opyIMeNt SO pale eg! 23

Petient:Michael Marx DOB:09405/1962 Enc:0406/2023

Pulmonary: No shortness of breath. Orthopnea was one. No cd
wheezing,
Gastrointestinal: No dysphagia,
No rectal pain,
Genitourinary: No change in urinary frequency - excessive and 1
urinary loss of control.
Endocrine: No polydipsia, no heat intolerance, and not to cold,
Hematologic: No tendency for easy bruising.
Musculoskeletal: No hand joint swelling, no ankle joint swelling,
Swelling in the foot. Pain localized to one or more joints.
Neurological: No dizziness, no fainting, no tingling, and no numt
Psychological: No hallucinations and not smelling peculiar odors
Skin: No dry skin and no rash. No brittle nails.

Medications
Medications Reconciled

Allergies
* No Known Allergies

Patient Histary

The patient reports no recent change in medical history.
Physical Findings

Neurological:

Motor: Preference for right-handedness,

PHYSICAL EXAMINATION: (“Indicates an abnormality)

Page 11 of 14 PagelD

ugh, no hemoptysis, and no

no nausea, no vomiting, and no hematochezia. No diarrhea,

© urinary hesitancy. No

Enuresis | times per night. No dysufia.

and no localized soft tissue

ness.
others cannot smell,

CONSTITUTIONAL: The patient is about the stated age and we
height, in no apparent distress.

NEUROLOGICAL: The patient is oriented to time, Place, and p
memory are intact. Attention span and concentration are within 1
fluent with no evidence of dysphasia. Fund of knowledge appear
appropriate.

*SPINE: There is no evidence of significant scoliosis,

deformity. There is right lower lumbar spinal tenderness.
There are no visible cutaneous stigmata,

There

*MECHANICAL: Straight leg raising (Lesague's) is positive on
and hip thrust are negative bilaterally. Leg flexion and rotation is

ght, appropriate for build and

n. Recent and remote
ormal limits, Language is
5 to be age and education

exaggerated kyphosis, lordosis, or
is no paraspinal muscle spasm.

the right. Patrick's maneuver
within normal limits.

MUSCULOSKELETAL: Manual motor strength testing of the u

and gastrocnemius/soleus complex in the tower extrem ity were te:

per and lower extremities was

ted. There is no evidence of

performed. The iliopsoas muscle, quadriceps muscle, anterior tf extensor hallucis longus,

weakness involving these motor groups. There is no evidence of
fasciculations or spasticity was identified. There are no abnormal

Page!2 of 5

trophy or wasting. No
movements detected.

#; 142

(0007/0010
04/14/2095012:3apt WARt Ig MNo2epgument

1

Patient:Michael Marx DOB:09/0S/1962 Ene:04/06/2023

30 pw lath Re? !/23 Page 12 of 14 PageID Gi

. SENSORY: Sensory testing was performed for both posterior columsn and spinothalamic tracts.

Dermatomes were tested to both light touch and pin prick, as well

limbs. There is no evidence of deficit to these sensory modalities,

and Achilles sites. Hoffman's and Babinski were absent bilateral

as proprioceptive testing of the

. There is no evidence of

* REFLEXES; The deep tendon reflexes are depressed but sea at the patellar, hamstrings,

myoclonus or spasticity in the upper or lower extremities. No pa

GAIT AND STATION: The gait is without specific abnormality
ataxia. Strength for toe and heel walking is intact. Coordination

New Studies
Imaging:
CT Scan Of The Lumbar Spine:
Reviewed CT scan of lumbar spine demonstrates multilevel d

hologic reflex is detected.

There is no truncal or limb
is intact,

Pgenerative changes most

Significant at the L4-5 level where there is severe bilateral foraminal harrowing and moderate to

severe central canal stenosis.

Prior Studies

MRI study of the lumbar spine from November was reviewed. P}

herniation, which appears to be substantial. This is hot noted in
evidence of mild to moderate multilevel disc disease, most subst
there is evidence of a grade | spondylolisthesis and facet disease.
‘foraminal narrowing.

Asséssment/Plan

‘available, By report, the film in March does demonstrate cd

or films from March were not
of a right-sided L4-5 disc

€ current report. There is

ial at the L4-5 level, where
There is evidence of moderate

Michael Marx is a 60-year-old Caucasian male with disabling rig
extremity pain associated with disc disease most prominent at the
Studies do suggest the possibility that the disc hemiation may hav
symptoms have only worsened. He does have an element of sten
L4-5, which may still be contributing, however, it is possible the
resolved, has caused chronic nerve damage, that may not respond
including surgery. I did explain this to the patient today. Neve
and disability, I did discuss with him the possibility of surgical

I discussed with the patient surgical treatment would consist of an
decompression, including laminotomies, foraminotomies, discectd
crest, allograft, interbody cage, and pedicle screw fixation. I did
extensive, with moderate rates of success. The surgery generally

it sided back and lower
S level. His imaging

improved, however, his

sis and spondylolisthesis at
isc herniation which has

o any form of treatment,
eless, given his severe pain
tment .

L4-5, possible L5-S1

my, and fusion with use of iliac
Hiscuss this type of surgery is
requires a 1-2 day hospital stay,

back bracing for approximately } month, followed by a program d

recovery would be anticipated to be 3-6 months, up to a year for

limitations would be recommended, including avoiding heavy ph
' on additional disks, in the future, Surgical treatment of this natu

rate between 60 and 70%. Still, this leaves 1 in 3 without

did discuss risks associated with surgery. Risks that were discu

Page’ 3 of 5

f physical therapy. Full

Nl improvement. Long-term

sical demand, which may wear
generally carries a success

improvement or potentially worse. I

ed include but not limited to

143
0008/0010
08/14 BORE Te cet PAE bbbbgdagrgiment 30 paige lives/23 Page 13 of 14 PagelD “0009/0010

Patien iMichae] Marx DOB:09/05/1962 Ene:4/06/2623

‘infection, bleeding, weakness or paralysis, death, failure to improve, subsequent surgeries,
worsening of symptoms, medical complication {including DVT, pilmonary embolus myocardial
infarction, stroke, etc.), recurrent disc disease seen at the sites, reoperation, failure of bone
grafi/instrumentation, chest tung or abdominal injury, vascular injury, adjacent level disc
degeneration, loss of range of motion, spinal fluid leakage, revisian SuUTgery,
chest/lung/abdominal injury, vascular injury, etc... Surgery of this magnitude is generaily
considered as a last resort for symptoms that remain disabling. All! questions were answered to
the patient's satisfaction.

Patient was prescribed a lumbosacral orthosis for the indicated diagnosis above. This orthosis is
required to reduce pain by restricting mobility of the trunk and to ptherwise support weak spinal
muscles and /or deformed spine. Verbal and written instructions for the use and application of
this item will be given at the time the brace is provided, Patient will be instructed that should the
brace result in increased pain, decreased sensation, increased swelling, or overall worsening of
their medical condition, to please contact our office immediately. | Orthotic management and
training wit! be provided for skin care, modifications due to healing tissues, edema changes,
interruption in skin integrity, and safety precaution with the orthosis, All questions were
answered for the patient. He is satisfied with the plan of care.

Dr. Yalamanchili was actively involved in the patient's clinical detision making. The patient's
medical history, physical examination, imaging/test results were reviewed and discussed at
length. The patient's diagnosis was confirmed and treatment plan was mutually formulated. He is
in full agreement with the treatment plan,

Orders
LA-5, possible L5-S1 laminotomies, foraminotomies, decompression, discectomy, and fusion

with allograft, iliac crest autograft, interbody cage, pedicle screw \nstrumentation, and surgical
monitoring

_Additional Information/Preventatiye Assessments/CounselingiEducation
Medication reconciliation performed Patient's current medication list Was reviewed.
Tobacco use screening with tobacco cessation intervention, history of tobacco use reported

history of tobacco use reported, and care plan documented for paia for pain ten Pain is 10 ona

-seale of I to 10. A planned follow Up appointment or a referral and notification to the other care

providers have been made for the patient's pain; BMI is documented as above normal

parameters and follow up plan is documented. BMI is above normal parameters. Patient
education on healthy cating and regular physical activity was provided, patient screening for
alcoho! consumption Less than 2 Single question screening for un healthy alechol use:, and

Patient not identified as an unhealthy alcohol user.
intervention and counseling on cessation of tobacco use Brief counseling on smoking and

‘associated risks were discussed. Behavioral counseling on smoking cessation was provided to the

patient. This included helping the patient to recognize situations that increase their risk for

smoking and coping skills to overcome barriers to quitting. Offered the patient more intensive
smoking cessation counseling/referrals,

‘Thank you for allowing me to share in the care of this pleasant individual. As always, with
warthest personal regards,

Pagel4 of §

i : 145
. 4/14 2688 ie Poort Phe 1g Werobagyment 30 pkdlgnl Meg/23 Page 14 of 14 Pagel *aaoiavooi0

Patient: Michael Marx DOB:09/05/1962 Ene:04/06/2023

Shakara S. Smith, PA-C
Kerinedy Yalamanchili, MD, FACS

cc
Dalé Sutherland, MD

Shakara S, Smith PA-C
Electronically signed by: Shakara Smith

Page 5 of §

